Case: 1:17-md-02804-DAP Doc #: 1967-71 Filed: 07/23/19 1 of 24. PageID #: 176805




                               EXHIBIT 495
       .    Case: 1:17-md-02804-DAP Doc #: 1967-71 Filed: 07/23/19 2 of 24. PageID #: 176806

                  Actavis Transition
                  Tuesday, July 31, 2012
                  10:12 PM


           Hi Andy,

           I apologize for not picking up your call today, I was with GENCO, as they were here onsite for meetings,
           post Go-Live, through mid day.

           Since the decision has been made regarding the structure of your team, I really don't have any questions.
           The message is clear.

           When you have a minute, I would like the opportunity to discuss items that you and I briefly touched on
           last week while I was in NJ, and that are clearly key to Watsons transition success.

           I want to ensure that we can prevent as much risk to the organization as possible during the integration
           and transition of the CRO team to NJ.

           Here are some of my thoughts and concerns:

              •     It is critical to have the key players remain employed for as long as possible to manage the day to
                    day business, integration task, transition planning, and transition. These are significant volumes of
                    work that need to be completed, and due to our lean team, they can't be absorbed by others due to
                    volume, and the fact that we do not have redundant roles on the east coast. While many
                    employees committed to the integration and transition, as time goes on, these are not employees
                    that are exempt, if they have a choice, they will choose a permanent job over 12 -13 weeks of
                    severance, and 2-3K bonus. The "sure thing" will prevail. This is a key concern of mine. No matter
                    how motivational I am, they will do what is best for their family.
              • Key players: Judy Callahan (extremely key), Michele Garcia, Renee Hernandez, Bea Padilla, Vicky
                Goldy, Darlene Grimm
              • This is not a minimal transition/training exercise. These key people are the experts, without them,
                the business is impacted. The business managed by Actavis is significantly different, including the
                    systems, policies, and process, and phone volume. There is no comparison.
              •     After working closely with Nancy, and evaluating her staff, she commented that we will need to hire
                    the majority of the staff (with the exception of really 1, the other is in NC) externally in which to
                    transition the CA roles. The current staff is not qualified for the Watson CRO roles, systems,
                    applications and processes.
              •     Without the key players, we do not have enough of the team to train and support the transition
              •     After the announcement of the new Director, we will need to manage the moral again after last
                    Friday. Judy is on PTO until Tuesday Aug. 7th This is not going to be easy for her either.
              •     Even though there is not a role for me, I would hope there is consideration for Judy (as a manager)
                    in this new structure to minimize the risk in the organization.
              •     I would strongly suggest some type of retention to keep the key players focused until the end of the
                                                                                                                            ~
                                                                                                                            l ~
                                                                                                                            ~11
                    transition.
)             •     Nancy, Judy and I can start on the plan immediately next week when Judy returns.

           Employee considerations for NJ relo:                                                                             :c~~'
           While I think there maybe a few employees that would like to consider the option to keep their role in NJ,       ~· ~
           they would need a bit more time to make a decision if they truly have that interest. Most are not familiar        ~
           with the area, cost, etc. They need more that one week to make that determination. They know that                    .sa1qql!l

           there is cost to move which is another consideration. Can we consider extending the time for them to let




                                          NativeFileDownload_ Page I
    CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                            ALLERGAN_MDL_03776365
       Case: 1:17-md-02804-DAP Doc #: 1967-71 Filed: 07/23/19 3 of 24. PageID #: 176807

      us know what their interest level would be for the NJ site to mid August?

      Also, Karen Martin from HR stopped over to talk to me of Friday afternoon, and while she agrees that relo
      is most likely not an option for the CR role, she did say that sometimes the company will provide a stipend
      of say $5-7K to pay for items like license transfer etc. They typically will also let them use the relo
      company resources as well. That may be very helpful to the team. I did not mention this at all. If we have
      interested parties, and you agree moving their role is an option, maybe Bonnie can confirm the policy for
      us.



      Lastly:
      I have an idea that may keep the team motivated, and may also provide significant value to the Watson/
      Anda organization. A win/win. Joe Fa I zone's Anda team is not impacted by move of the Watson shared
      services teams, they will remain in Corona. I would like to send Al Paonessa an email to advocate that if
      he wanted to consider expanding the West Coast teams coverage options for the PracTRx and Intel logics
      business, he would have a plug and play team of talented professional pharmaceutical phone reps, and a
      results demonstrated manager to handle the business. They already have room and plans to support
      Joe's staff, so this is not really a significant increase if they want to add this team to the space. I would
      hate to have him pass up this opportunity when it may be a great consideration for him. Your thoughts?

      PRACTRx
      The PRACTRx division of Anda, Inc. delivers highly personalized product support and pharmaceutical market expertise
      to office-based physicians. Established as AndaMEDS in 1995 to service the pharmaceutical purchasing needs for
      physicians, PRACTRx employs an innovative and proactive sales approach that anticipates the needs of its practice
      partners and delivers customized solutions for medicines and vaccines.
      PRACTRx is focused on servicing customers through a staff of experienced Remote Practice Specialists. We offer
      competitive pricing, free next day delivery, and convenient 24/7 on line ordering through www.practrx.com. For more
      information or to speak with a Remote Practice Specialist, please call 1-855-PRACTRx (772-2879), or e-mail
      i nfo@practrx.com.



      lntellogics
      In January 2012 Anda Inc. launched Intel logics TM - a new, specialty-focused division that delivers strategic and
      logistics support to Manufacturers of biologic products. lntellogics combines significant expertise in biologics with the
      ability to design and execute specialty solutions that extend the Manufacturer's strategy into the marketplace, ensuring
      customers and patients have improved access to product. For more information or to speak with a Remote Biotech
      Specialist, please call ·1-855-INTLOGX (468-5649), or e-mail info(@intellogics.com. Visit our website at
      www.Intellogics.com




                                      NativeFileDownload_ Page 2
CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                     ALLERGAN_MDL_03776366
       Case: 1:17-md-02804-DAP Doc #: 1967-71 Filed: 07/23/19 4 of 24. PageID #: 176808

           Actavis CRO Transition
           Thursday, August 02, 2012
           8:02 PM



      1.   Transition plan with tentative dates

      2.   NJ Dept. Structure
             a. # of Reps

      3. Communication
             a.   Consideration for positions CA - NJ - 8/17
                     i. Judy - would be a huge asset would want to make her part
             b.   Retention contracts key members - Judy Callahan (extremely key), Michele Garcia, Renee
                  Hernandez, Bea Padilla, Vicky Goldy, Darlene Grimm
             c.   Nancy - Ad min Role
             d.   Discussion with Al Paonessa

      4. Posting of Open Positions
             a.   Current Morristown Staff to convert

      5.   Training Plan
             a. CRO
                    i. Systems -Training
                         1) Environment: Systems class room/net meeting/ side by side
                              a) SAP
                              b) BEA Portal
                              c) Salesforce.com
                              d) Avaya
                              e) •
                                 f)
                          2)   Portal

                     i.
                      Processes: CTMAN's
                    ii.
                      Policies: OPD's
                   iii.
                      Portal(s)
                        1) Wal-Mart
                        2) Walgreens
                        3) Rite Aid, ABC, CVS, Henry Schein, Cardinal
             b. Switchboard transition to Security.

             c. Training - Director Responsibilities
                   o Kronos
                   o Metrics
                   o Budget
                   o ICP's
             d.   Training - Tentative Manager Responsibilities



             e.   Admin Role

      6.   Coordination Move of Hardware/Software : Phones, (Testing, Menu's, IP Agent, Printers, Faxes,
           Phone numbers, outsource testing)



                                      NativeFileDownload_ Page 3
CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                      ALLERGAN_MDL_03776367
       Case: 1:17-md-02804-DAP Doc #: 1967-71 Filed: 07/23/19 5 of 24. PageID #: 176809
             a. Salesforce.com has to be changed with accounts, and escalations configuration etc., email address
                to new rep and Parsippany location

           Phone
           You are invited to attend an AT&T Connect iMeeting to discuss the following:
       •   VDN clean up
       •   identify correct menus, and
       •   validate active vanity lines
       •   discuss phone reporting capabilities
       •   wish list for Customer Relations
       •   training support

      7. 800 numbers are on the Pl's and literature -which toll free number will be kept.
      8.   Inter- Dept. Integration and transition coordination efforts/contacts, testing, between departments
              a. AR
              b. Pharmacovigilance
              c. Medical Communications
             d. DC
              e. Corp. quality
              f. Marketing
              g. Brand team
              h. Contract Mfg - C of A, C of C




      9. Admin, could be shared with Ops
             a.   SAP
             b.   BW

     10.   Director Role
             a. 1:1 list with Andy - Nancy

     11.   Notes
             a. Judy - would be a huge asset would want to make her part
             b. Lead -
             c. Potential Corona Staff
             d. Current Morristown Staff to convert
             e. Lincolnton- (role must be in Parsippany)
             f. Posting in Parsippany- Kathy Sartori, Mary Moskello??
                   i. Backfill those positions so they could assume as CRO role




           Questions
     12.   Location:
     13.   When can we post for the jobs?
     14.   Can the Actavis
     15.   What about 2 people left in Corona?




                                     NativeFileDownload_ Page 4
CONFIDENTIAL- SUBJECT TO PROTECTIVE ORDER                                                       ALLERGAN_MDL_03776368
       Case: 1:17-md-02804-DAP Doc #: 1967-71 Filed: 07/23/19 6 of 24. PageID #: 176810




                                      NativeFileDownload_ Page 5
CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                              ALLERGAN_MDL_03776369
          Case: 1:17-md-02804-DAP Doc #: 1967-71 Filed: 07/23/19 7 of 24. PageID #: 176811

                    Transition Meetings
                    Tuesday, August 14, 2012
                    9:23 AM



       8/14/2012
      The plan today is to review:
       Mary, Judy, Andy, Nancy



                [21~··

        Actavis
      Detail Proj ...

      1) The assumptions, add to those where we all see fit.
      ITT;~
      ~¥~   r~~~~\<su,,-::i~c11,,e~enc:rnaii
        •... :t,
            ,:C,,
                    ..,:Z,1)',4.:"jwml';;'J:1,.1},·" :,l"l:•"'~   1·'.:!\'' ,.?'.· n~{,,:2
                                                                         1 e,="~z;.<11.i1,
                                                         tll1lil.e .l'1l'~                      . 1e1". ~2    c>_,,m·..·!'·1o'.·...,..
                                                                           ac~-.... ;,.;J,;-,,Jn,s.,:;;;,J,i.._,,,,/f'!.,,!IJ,
                    'iH/11 '1,,Nt- /.;,,,.», ,-..,,g,,;;;;_ .,.,'/W...ms:.'1,. - .;,,·11.~,JJ'll,...,~·11/Jil'a. 1 •
                                                                                                                                 ~ "· l
                                                                                                                       1,;/J,;,jK. .,,,J,


                 o Communication with the CA Team on dates
            o            Retention contracts: Judy Callahan (extremely key), Michele Garcia, Renee
                         Hernandez, Bea Padilla, Vicky Goldy, Darlene Grimm
      3) Discuss next Steps




                                      NativeFileDownload_ Page 6
CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                  ALLERGAN_MDL_03776370
       Case: 1:17-md-02804-DAP Doc #: 1967-71 Filed: 07/23/19 8 of 24. PageID #: 176812

         SOMS June 24th, NJ
         Tuesday, September 25, 2012
         6:29 PM




         June 24th
         Rose B, Lisa S, Mary W, Frank C, Tom N, Nancy, Sandy S, Laura P

         3rd Party Distributor- UPS, UPS used a "homegrown" SOMS program, local DEA Office reviewed. UPS has
         3 resources for Actavis. UPS handles distribution, investigation, and releases. UPS does the license as
         well. UPS may reach out to Actavis to investigate further but that is rare. UPS does not contact
         customers. Actavis will fully exhaust internal resources.

         UPS is the Registrant and has separate program.

         Direct Sales
         Implemented statistical model that is "defensible"
         Model based on historical data for 12 months, based on values, a score is determined for the order
         which may be an order of interest.
         "Retuning" once a year, Cegedim "tweaks" algorithm.



         Know your customer - due diligence (site visits, low volume of new accts)
         Customer Profiles pertain to "survey" Cegedim provided
         Actavis - approx 30 customers of controls plus Optisource, Premier
         Current system does not block orders, however they have the data. May need to pull back orders in
         question. Actavis will report to DEA those that are in question.
         Actavis resource requires a SOMS Analyst, (1) Direct, (2) Indirect,

         SOMs Direct Sales Stats

         Period 2/21-5/8 54 business days
         2248 Control Substance orders
         EDI and manual 13, 299 order lines passed through model 2017 manual, 11,282 EDI
         746 orders, 33.19% of controlled substance orders
         1371 Unique lines on hold approx 10 lines
         1800 total lines that require full investigation
         I line can fail for more than one reason
         Approx 32 lines per day
         18 million $s orders of interested but $52 million total orders held.
         Analysis by product group total lines & $s.
         Total Customers -ABC total lines 17%, more locations
         McKesson is very high in $s, lower in%. 95% of revenue on hold.
         Reason codes - Summary by Reason Code - Actavis had to work with Cegedim on reason codes.
         Actavis system can release even though under investigation. If order passes SOM, Actavis cancel line and
         order will be not go to SOMS again. IF a change goes up, SOMS is triggered.
         Actavis is still working with the reporting requirements. Have baseline. Policy of when a order is an
         order. From receipt?



         New account review process




                                      NativeFileDownload_ Page 7
CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                      ALLERGAN_MDL_03776371
       Case: 1:17-md-02804-DAP Doc #: 1967-71 Filed: 07/23/19 9 of 24. PageID #: 176813

         Actavis development Compliance Acknowledgement form - customer signoff that they are aware of
         their responsibilities and agree to terms
         Site visits during 2012 - Cegedim provided a survey tool, more in depth review of SOM Process
         Know your customers customers - indirect customers - tracking trends

         Actavis did not have an organization to support SOMS

         High Level Process Flow
         SOMS Steering Committee -
                  Meet monthly
                 Track trends to identify customers

         Legal/Regulatory

                  Up-to-Date with DEA Regulations
                  Responsible to advise of regulations
                  Direction to shut a customer down
                  Counseling on Risk Mitigation
                  Understanding products that are most subject to diversion
                  Role to attend Industry Conferences
                  Has relationship with DEA, and responsible to notify DEA
                  Gathers intelligence

         Order Monitoring

                  Day to Day order review
                  Conduct investigation
                  Escalate orders in question

         Know your Customer

                  DEA has ARCOS-visibility of all supplies to indirect account
               Data is based on chargeback data, Actavis will only provide contract for some controls under
               chargeback terms



         Dea Intelligence

                  utilize existing resources

         Indirect- Valucentric 867 downstream data
                  Aggregate
                  Chargeback data
                  Multiple Source Purchasing
                  High Quantities
                  Document findings
                  Disproportionate amounts, Controlled vs Non controlled, Substantial change vs. historical or
         expected)

         Orders of Interest structure

         SOMS 1 (direct) Analyst SOMS 2 (indirect)
         Manager Controlled Substances



                                      NativeFileDownload_ Page 8
CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                      ALLERGAN_MDL_03776372
       Case: 1:17-md-02804-DAP Doc #: 1967-71 Filed: 07/23/19 10 of 24. PageID #: 176814

         Sr Dir Corp Security & DEA Affairs

         Resources to run models, and not do site visits, surveys know your customer. Director was planning to
         handle the site visits.
         Order Monitoring - Manage, Day to Day, orders of interests, escalate orders, est and maintain
         parameters, This resides in MD role at Watson. However Analyst is not to do site visits
         Questionnaire for existing and new customers, - Actavis letter
         Survey is a working document and some questions may not apply to all customers




                                     NativeFileDownload_ Page 9
CONFIDENTIAL- SUBJECT TO PROTECTIVE ORDER                                                      ALLERGAN_MDL_03776373
       Case: 1:17-md-02804-DAP Doc #: 1967-71 Filed: 07/23/19 11 of 24. PageID #: 176815

             SOMS September 6th Meeting Watson/ Actavis
             Wednesday, September 05, 2012
             11:42 Al\ll



      Meeting:
      Umish.
      Nancy:
      Tom & Lisa:
      Scott:

        1. Project Plan/Timeline- Business/IT:
                  a.Cegedim process would be ideal per Tom.
                  b.IT- is sort of ready to go to production
                  c.Business - Nancy did not understand what the purpose of this meeting if this was to
                    discuss pre-go live
                                i. They have identified pre go live
                               ii. Use existing resource prior to go live
                                      1. Split from 3 functional areas, sales and mkt, 1 DC, they all need to be
                                          trained. DC does not have business intelligence
                              iii. Do not have a fancy project plan
                              iv. All will be notified by the end of the week-they will be incentivized to have
                                   this added to their job role
                               v. Training Sept 10 and 17
                              vi. Parallel through mid Oct.
                             vii. Go Live 3rd week of Oct.
        2.     Resources
                 a. Notified by the end of Sept. 7th

        3.     SOP - Completed

        4. Training
             a. Will be completed week of Sept. 10th & Sept.17th
             b. Training on the system will be Nancy & Rachael, and the product manager, no compliance
                 people.

        5.     Reporting
                 a. No so such thing as parallel reporting to compare old to new
                 b. There is reporting from the new system, that may need to be tweaked, they are confident
                    they do have enough reporting to go live

        6.     Risk Mitigation - Should be mitigated to a certain level on the Actavis side with this
               implementation




                                      NativeFileDownload _ Page 10
CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                              ALLERGAN_MDL_0377637 4
          Case: 1:17-md-02804-DAP Doc #: 1967-71 Filed: 07/23/19 12 of 24. PageID #: 176816

              SOMS: - Actavis Meeting 8/16/2012
              Thursday, August 16, 2012
              11:06 AM




    1..       Nancy, Uresh, Scott, Mary

          •   Not nearly as compliant as we could be, to the letter of the law prior. Threshold based report
              system.

              Actavis Cegedim system:
          • Sitting in production data base, running live
          • Ran for a couple of months in production, does not put orders on hold, just got her first resource
            from the Brand side.
          • Anticipate by close will have the whole system up and running
          • Did not have resources to support
          • Ran model in late Feb. for a couple of months (5 months)
                o What is data telling them on how to manage this if they are going live prior to the close.
                               •        31-33% are pending- waiting to retune.
                               •        See's the data but does not act on the recommendation of what the system tells
                                        them to do.

                 o Where is the data residing from the production environment

                     r.'T.tt'!"::i:~HP1t''!'.l'Y '".·"'.'!1'1!."'""-!£%""-1fi:r.,;...,·;;;;;~.;,l':"'"~ r:r,.,
                 o   ilf~~~{~l@&llfi'.1!!/li f;j:1~[:~:IH~!
                                                   is not managing the system, old system. DEA would see the
                     old logic if they did an investigation. Both systems are in production environment.

                 o   Or is this managing the system using this logic.
                        • No sales history was altered or modified (5 months)
                        • No sales history was modified would have been modified



                     ~6~1re:ci~'f4j~~~~lil~i!~~




              Day 100 -

              Meeting August 21st, 2012

              John Duff - Actavis - Legal
              Jason Chug DEA - Compliance Elizabeth
              Nancy Baran
              Umesh Solanki - Actavis - IT
              Frank Chen




                                      NativeFileDownload_ Page 11
CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                       ALLERGAN_MDL_03776375
       Case: 1:17-md-02804-DAP Doc #: 1967-71 Filed: 07/23/19 13 of 24. PageID #: 176817
           Mary Woods
           Sandra Simmons
           Laura Pinti

           Meeting Goals :
           Day 1 - Compliance Discussion
           Day 1- Critical deliverables
           Day 1 - Determine what the Risk is at Day 1
           Day 100 - System deliverables

      1.   Definite risk right now today, current system is not acceptable to Watson.
      2.   Current As-ls Process
             a. There is no current SOP on the current process
             b. Threshold base
             c. Does not hold orders
             d. Creates a report
             e. They do not investigate all, only some, since there is no SOP, they don't investigate
             f. Report runs every time an order load is run for EDI, not for manual
             g. Looks at six months of orders and compares the current orders against the past six
                 months


           Meeting Notes    10/5/2012
                    •   Direct Customers
                          o Finalized 4 (5 including Nancy) resources that will be on through Jan
                            until Watson cut over
                          o 3 look at orders and reports on a daily basis
                          o Training completed a few weeks ago
                          o Model gives all analysis, and now puts orders on hold
                          o Target was Oct 15, but went up full go live since Oct l51
                          o Parallel test all Sept
                          o 11% - 14% pends
                          o SOP does show the escalation process
                          o No work instruction as a separate document
                          o This was part of initial work with Cegedim
                          o They were given a boiler plate, and customized
                          o Tell you what to do, not how to do it.
                          o Nancy will get permission to send us the SOP
                          o Also prepared to work on the indirect side, no resources, but have
                            SOP's - work has been completed already
                          o DEA meetings told them to focus on customers/customer
                               • DEA Oxy 30, 15, Hydro

           Meeting Notes 10/ 25/2012
           Acta vis/Watson




                                     NativeFileDownload_ Page 12
CONFIDENTIAL- SUBJECT TO PROTECTIVE ORDER                                                          ALLERGAN_MDL_03776376
       Case: 1:17-md-02804-DAP Doc #: 1967-71 Filed: 07/23/19 14 of 24. PageID #: 176818
         ~AI & I Connect Participant Application - IMcetill!I -                                     •scorr SOLTJS's Mceti                          ruii>m'l'J M&! ~~~Jltf.:][J~fi]
          Conference View             Partfcipants Whiteboard Aud;o/Vldeo            Recording       Help


             JJ
          A.r.i! HYW::!
                          I·      J·
                               Stnd t/~t~
                                              ~B
                                             'Slep OU
                                                         ~!.
                                                        \•/htt~~rd
                                                                      I'S~
                                                                      Au~
                                                                         . ~
                                                                           I         !Jr~~l!e
                                                                                                                 Presenter Is Shi'lrlng
                                                                                                                   an appllci'ltlon



                                                                                    J..~e<Y.lr co-nected b'/ ?h=<,!!'
                                                                                    Di!! :Sl020SS5# :o,:c,V'!e:1
                                                                                    "tv ::hone •. ,n \'Ql.7 ~=<~ :er

                                                                                                                                                         Agenda


                   1·          SOM - Overall Process
                   (\ Validation ogre

                                                                                                                                                                                     r
                                                                                                                                                                                                  ~~
                                                                                                                                                                                                      ...J tlalena'1
                   • SOM - parameters                                                                                                                                                                 ::I   Confe
                                                                                                                                                                                              \
                   • Investigation ft Release Process / __
                                                                                                                                                                        '"' ,
                                                                                                                                                                            ~-
                                                                                                                                                              ~
                                                                                                                                                                 .
                                                                                                                                                                  •
                                                                                                                                                                      t. -r
                                                                                                                                                              >, ... ~ ~
                                                                                                                                                                      ?,f.l
                                                                                                                                                                           ~ .. ' --~ - 1·


                                                                                                                                                                             'J,(..,.
                                                                                                                                                                                                     [~J::,]6;
                                                                                                                                                                                                                ...!..l


                                                                                                                                                                                                  AT&TCotrn;.'l.t


         l:!:/Sta,tl [i1SOMS:-Actav ... !G7Mlcr050ft ... ·IIOsAPLogonPa ... ! ~Entel1ngtheE ... U~:AT&TConne ••. 1"0~"fllP~.;} 8:04AM

         ~ Al &I Connect Participant Application· IMcettnn -:•scorr SOLTIS's McetingRocmi.lf/ _-_ .te,1rt.c::·.1difil
          Conference View Pl!rtfC[pants Whiteboard Audf(I/Video Recording                            Help


             -a
          R~e Hm
                          I·      J,
                               Send tlot!!
                                              -0
                                             Sltp OU
                                                         [ru.
                                                        \•/Nte:oa:d
                                                                      ~~
                                                                      Au!.:.    I     U~;e
                                                                                                                 Presentor 1, sh.'lrlng
                                                                                                                    an .1ppllcallon




                                                                                     A 'view' from Moon                                                       ~tavis


                                                                                                                                      .,.;-;,.'V'"•:.-.:t.~

                                                                                                                                 ,,                              '•~- ..
                                                                                                                              ;·
                                                                            \                                             .t                                               \.;
                                                                                                                        fa.                                                  ,.

                                         . Customers                        J           ,,-'l
                                                                                                                        ( actevis                                            l
                                                                                                                                                                                 ~


                                         ,                             .,
                                                                                       ~ Shipping.
                                                                                                                              ",,...__._.., . ,.,..,,,,,,. I
                                                                                                                              t                                       /'




                                                        I'.     ;~·,_;,e jt,c:)f"(ied~i:~~111·~~~ ..t~l~~IDPl!!i!J,''>                                r~:;:< I
                                                                                                                                                                             ":-'..:~~~   ~
                                                                                                                                                                                                               ...!..l
                                                                                                                                                                                                     l::J::'.J[i
                                                                                                                                                                                                  AJ"ITrc,,ri.'l.t


          ilista,tl (v SOMS: · Actav ... ! ,:i, 7 Micr05oft ... ·I i;3 SAP Logan Pa ... ! ~ Ente11ng the E...                                            !I~ AT&T Conne •.• ~~»-@                      8:05 AM




                                     NativeFileDownload_ Page 13
CONFIDENTIAL- SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                                 ALLERGAN_MDL_03776377
       Case: 1:17-md-02804-DAP Doc #: 1967-71 Filed: 07/23/19 15 of 24. PageID #: 176819
         ~l,il:.iliView
         Conference
                             1 : JC +V5illHHIHCID:
                    i,i,i4,ilF.Ttmfifilil•   nm100
                          ~rticipants 'Mliteboard
                                                              h1m ...1,111•~·ll1lfll~lmTlif.fflmi1'L~~ ,-r- .<"Y,n~·,-··
                                                  Audo•rdeo Record. Help    ,J~j.:'LJ:t]~Jtt;rflii..
                                                                              t       ~ 1                    l':1r~,
                                                                                                      ,,.,.,,w..,.     ing
                                                                                                                                        .•
                                                                                                                  .:,r,l, ~~ •. 1:·T...;1")(1
                                                                                                                                  ..:..1.=!J~                                                       1. ,,
                                                                                                                                                                                                            h.



                                                                                  1



            .,Jl_!l
          A~e HY'ld
                        I·          _?,'
                                 Send Nt,t~
                                                  ~i
                                                 51tp Q,J
                                                                ra.
                                                              \'/hteboa:d
                                                                              ~~~
                                                                                  AiJ:1IO           l    IJ1~~!1:e
                                                                                                                                              Presemer 1, sh;Hlng
                                                                                                                                                <"n olQpllc.1tlon




                                                                                  SOM ·· Order Processing                                                                      ~tavis


                                               ~
                                               Orders
                                                                                                _,.,.,,,.,,,,. .... ........._              "'       ~
                                               l   Fax
                                                 phont
                                                                                      .,.,,"" Controlltd ... ,
                                                                                      ........._, .-.:._KU? _.,,.,,/
                                                                                                             ,,/

                                                                                                                    Yi:•,
                                                                                                                                            · u
                                                                                                                                                   f:SiiJ

                                              1? month H1ncry                               ,                           --
                                                                                   /  SOM     I
                                                        Current Month
                                                            Strenilh
                                                                                   L.~-;.,,, /
                                              SOM Parameters




                                  IL50M.'l'_l[UM~;;12 month's-ttts'torya;biriint ~nth Str_qth ~lf~~.turther' I ,:::,,

                                                                                                                                                          .!.I
                  Really order of interest, not suspicious after the validation                                                               1~~6:
                  The Hold Order and Investigate is a process, not system check                                                            Ar liTCor,111.'1. t


          .lf3St:artl Gl SOMS: - Actav ... ! G 7 Microsoft •.. ·I ~ SAP Logan Pa ... ! 1': Enter1ng the E ... 11 ~ AT&T Conne .•• F/0!'»1$® B:05 AM




                      W,jf;iiilJUHA,i@,(ifttttfii+flfiU@iritili:t@              tflfOl#i•llif#•lk1tfitftt§•Htii·i~~,r
                      Ccnrerence View Parb'cipants \.Vhitebuiud Audio/Video Recording H!!!p+
                                                                                                                                 1~?.l;J",,_. . - -··~- -·
                                                                                                                                 111
                                                                                                                  ~ ~....J..!,U.. .l",..;.·.,; ..... ,:,;"'1.J.:.:: ~ I ifil~
                                                                                                                                                                                                            1
                                                                                                                                                                                                                -




                         -'~ I
                         1.-1
                      A~;e H.vad
                                 •              -,.
                                                .:.1
                                           Send N,:te
                                                             .i.fD
                                                            ~ltp OIJ
                                                                            ea
                                                                       \.'/hi:etotrd
                                                                                                  F\1ii, ~
                                                                                                  ~io I Llr~~e
                                                                                                                                                        Pnm;mer 1, ,h.uing
                                                                                                                                                          -,n ,,ppllc,·11lon




                                                                 Suspicious Order Validation Logic                                                                               ~ctavis
                                                                                                                                                                       (SO\/L)
                                                                                                                                                   Ord1rS·1r,11
                                                                                                                   ~----,
                                                                                                                     Create
                                                                                                                            ,..,~..-111·
                                                                                                                            1·,.,m
                                                                                                                                         ...
                                                                                                                        ~tupfc.lom Ord&r           D~n ·n:aa
                                                                                                                          Au::it Rf!COf..:!        Qrv Orott

                                                                                                                                                   IQ~ Or..t~, •
                                                                                                                          '"·-··- .,_,..           ~.tr•ottl?..
                                                                                                                                                   r.:1c11~1,,,
                                                                                                                                                   p.(·., ........ ,
                                                                                                                  I ..,....,., ~'-~   ,.,n :>t<u   J. A«·.-.
                                                                                                                   ---~-- 1.,,,.J;....,
                                                                                                                                                   !In~ .., ... u
                                                                                                                                                   -. ,ul11l~1oi~



                                                                                                                                                   Pra.rii!,,.llr
                                                                                                                                                   l>tu:lrift



                                                                                                                                      ,.,
                                                                                                                                 p-~~
                                                                                                                                                                         su,TJ.""'_
                                                                                                                                                                                        ·,:.: ~ J



                                  Watson does not have reserve order. It is a method to protect inventory.                                                                                                           n order for
                                  "Actavis company" to hold inventory.
                      JiJStarl]        r- SOMS: • Actav ... ! f,            7 Microsoft ...                          -I i;J SAP Logan Pa ...
                                  Nancy has a document 4-5 pages, and it shows how the coefficients work reason codes that would
                                  be applicable. All "Order Holds" are reviewed by Nancy's team.

                                  Reports for DEA could be generated based on the audit trail, and each time a stamp hits the audit
                                  trail, it provides the data for report generation.




                                      NativeFileDownload_ Page 14
CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                          ALLERGAN_MDL_03776378
       Case: 1:17-md-02804-DAP Doc #: 1967-71 Filed: 07/23/19 16 of 24. PageID #: 176820



                Reason codes:

                wa 1 :111rnu 14, 1@@rttttrttm1® 1w1:t@uww2w.:1t111 t..fl®, rm1 :&~~i::J1 r.~ .j::.
                centerence             View              Pi:rtictpants V,1uteboord Aud1oj\'ICt:o                            Recording            H~lp
                                                                                                                                                                                                                                                                                     .=l§J 2'.l


                     _n~          I • -'-'...-<.                     wU                i~ .
                                                                                                                                                                 Pre.1&flt8f T,-$h.ull\gl
                     ....
                A!lloe HYld              Se-nd ~let~              Step OU            \·ltii:ebo,~.:d
                                                                                                          ~~I"~"                                                       <1n .:inpllca1lcn



                , ........
                  a-
                             ---.{-~     ~Jc_/'
                                                                  ......
                                                                 ., .,_,,"'.               ,1 d
                                                                                                                                                                                                                                                                             ~        ?1~




                                                                                                                                                                         37 35.3 2 EDI PO Load
                                                                                                                                                                              Actavis Inc.                                                                                   ~ <·,
                                                                                                                                                                                                                                                                                  p~.J-
                                                                                                                                                                                                                                                                             it;)l
                                       Value                                        Comments

                                       1                                            6 Monthly Total is above Hist.oric Avg
                                                                                                                                                                                                                                                                                  """
                                       2
                                       3
                                       4
                                                                                    12 Monthly Total is above History Avg
                                                                                    6 Monthly Total is above 'Projected Amt
                                                                                    12 Monthly Total is above Projected Amt
                                                                                                                                                                                                                                                                              ""'--j~
                                       5                                            Frequent Ordering
                                       6                                            Potential increasing ordering trend                                                                                                                                                   ~~
                                       7                                           New Customer
                                       8                                           New Product                                                                                                                                                                               D        Uat~,
                                       9                                           Failed Active Ingredient Maintenance                                                                                                                                                      ::l     Confe




                   •         (9) Item master must show API to link NDC to API                                                                                                                                                                                                       .!.I I
                                                                                                                                                                                                                                                                            GJ'.::'.JIS.
                                                                                                                                                                                                                                                                         Al&TO.>n •:.."t:t


                It/Start! G) SOMS: - Actavls ...                                     i fe         Mtrrn<nft Clf.                      ~ Entering the Ev...                         If~ AT&T Connec. ••                                                    r,;t;~,>-~          8:46 AM


                '®l,il;1iitJ1'ii4, l@tf#rttttfii,ftffll®iMIZ&ffi,tfttlW~!llil~•l li~tiZffit ·-fill'!r wfiJft __ ·· ·                                                                                                                                                                 .=l§J ~
                 Conference View

                      an1
                     1,-<         I • ~,..1
                                                         Ptrtic,pan~ V/h1teboard

                                                                     -!fl              [~.
                                                                                                       Aud1Q/\'i-dEo
                                                                                                          k\..~J ~
                                                                                                          I \,r',
                                                                                                                            Recording

                                                                                                                          I ~
                                                                                                                                                  Help_-;;:==:;:::;:::;::::;-·
                                                                                                                                                                 Pressmer Is. st.Mh,g
                                                                                                                                                                    .in,, ,lk,1.1lon
                                                                                                                                                                                                                                                                    , ,nin,---JI
                                                                                                                                                                                                                                                              Multip5c Speak.en
                                                                                                                                                                                                                                                               C:mecoc n: li~>«.I           ~
                A!!ll.e H!!llld           s~r.c11'J~t!!           Slep O\J           \','h'.etoa:d          C.,U j10      11.1, ,r,:1:('
                                                                                                                                                                                                                                                          -·HoA~ect
                                                                                                                                                                                                                                                                             ,rn
                                                                                                                                                                                                                                                                            fc,
                                                                                                                                                                                                                                                                                      P.~
                                                                                                                                                                                                                                                                                         ,
                                          ,Ji,L!_.I,             ~;'('; 1;,.., ·           r:i tJ

                                                                                                                                      :.,.1~.1.: cz             i'Cl   :.r.....o                                                          D•t•           !0/2~/ll
                                                                                                                                              .t.e-: ln' h tn-:.                                                                          l"!'"' o,:,o,,:,,
                                                                                                                                                                                                                                                                                  '"'··
                                                                                                                                                                                                                                                                             :Ii..,
                                                                                           i /:~~·;_!/~;;!:            ~~I, ~ ~...    i :,~~~:: !~
                                                                                           ;, lo.:.,r:1 h:r To:.:a.~ ~• ~:..\·c: f>rr.>)•cc.o:d ;.r.1.
                                                                                                                                                                                                                                                                             !!J
                                                                                           t~ x:::: :i-.:y ::'r.·:;,: h; abtr.• ,roj•t":-M i>or- l.
                                                                                           rr~:(\l•:-it o,·4.a:·tr,?                                                                                                                                                              PMti
                                                                                           FG1f!! tlA:    ln Cl "½ltk ;:i ('>t!\oerl:'.l] ta·~~.~
                                                                                           ,.~ ... 1.~in~ :-
                                                                                           1,:.,... J>noduct
                                                                                           h,lloid Ac: h-• t::<7:-'fdi..r.t !",ioi:i•.tr..;o.ntt
                                                                                                                                                                                                                                                                              -...
                                                                                                                                                                                                                                                                              -.._
                                                                                                                                                                                                                                                                              j£
                                                                                                                                                                                                                                                                          ~!!!..:]
                                  ·!".U'ljl   ,:r.-t:'       ,;;J,.~·      o:t,~11 t'Un·tt.:. t,.1.y :.:.-:/!!S/Dl j

                                                                                                                                                                                               TC.~A: 'O:i •                                                                 CJ       r-Cal~I,
                             Ord :1o1:~-r       t)t"tl    T{.,.... d.:•            (\1st    I     ('~ltt..,'!I" ~l~,.~                        kf";I     J'f:•                                  tin~,. L.!.n-   ,~~"1 ·~·    M<tl:i        :Ju:: HI
                             l.Cl/2~,':z 1:.,H•.111               s,;,v-:to, <i,i,o               r.,:-1:1:rscl! c,:~" cxsn... ~              >'..:'1   ~77Z'97h)                                                          ~1:2.-li/      :-.[7                              ::f     Confe
                                                                                                                 !ft~     :>t~c:-lr,:-1,:;n
                                                                                                                ;.1,ff.A;.O .;,;,:t   cu   L!':1, U•O    t':'...tl..L'T)
                                                                                                                                                                                                      !l~·,· 1)t-1~:--M ;ou :~i•
                                                                                                                                                                                                                           i: ;:1: ;~~       ·r·
                                                                                                                                                                                                                                     !l.•11, 11< <1 ,;




                                                                                                                                                                                                                                                                                          .!.I
                                                                                                                                                                                                                                                                                           II
                             An order could pend for multiple reason based on the
                                                                                                                                                                                                                                                                         Af6l(.,·,    .·!



                II: Start!          ~;: SOMS: - Act.vis ...                          ie           ',11•1,1,11tT(•I                    ~ Enicrlng the Ev ...                        I[ it''   AT&T Connec. •.                                                    "r'1ii,~ S:~8 AM



                             1                      6 Monthly Total is above Historic Avg.
                             2                      12 Monthly Total is above History Avg
                             3                      6 Monthly Total is above Projected Amt
                             4                      12 Monthly Total is above Projected Amt.


                                     NativeFileDownload_ Page 15
CONFIDENTIAL- SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                                                                                     ALLERGAN_MDL_03776379
       Case: 1:17-md-02804-DAP Doc #: 1967-71 Filed: 07/23/19 17 of 24. PageID #: 176821
                            L                      .L L     IYIVI II.I 11y                         I VLOI • .,               a,..,vvc                       111.;:)LUI                    Y       M VS


                            3                      6 Monthly Total is above Projected Amt
                            4                      12 Monthly Total is above Projected Amt.
                            5                      Frequent Ordering
                            6                      Potential increasing ordering trend
                            7                      New Customer
                            8                      New Product
                            9                      Failed Active Ingredient Maintenance
                M,il:!iii•iri,i§,l@@®tftffitM\trffiiii!r@,ttti-~t!I·~t?:~~.:.;.;.                                                                                                                                                                   ~ 2!]
                Cc,n.'"ererice      V,~ •.,   F~rt1:1pana Wh1ctx.erd                Audlo/\'dc,            ~:or_dJrig     H~I~


                   ·/;l
                R~:,:H,..,1   I·          .~;,
                                        $'1'dllW
                                                         <>a
                                                        SlepO\i
                                                                           ~G.
                                                                      \l,'hf:-:-i
                                                                                        i'•o-J,o
                                                                                          ~I                   '¼
                                                                                                            lh:it,
                                                                                                                                      Prnrmr, l'i ~h:mr,(l
                                                                                                                                        i\'t,~Jllll1p,tiC'll




                                          Bl (Binary) Indicators & Continues Variables                                                                                                             Pactavis
                                                 These 11rr 1111ribu1~ 111e1l i11 1/,r SO_\[ model nml 1/fritlt1tf ;,,,o two duss.-s.

                                                 M.atr:a.Wta
                                                         ~---u1,ra.1nn••Hr••r.&                                                                                         !$.c crftnn"
                                                                                    so ~ n .. ,- ,,,.., •• .,.
                                                                                    ,t.,1 ..... ~••
                                                                                                                                                                                   1\1,.r.. ..   ~";r,!"'~
                                                                                                                                                    ll'>J11'1 1,_,.11w i... , .. .a.   •• • .... .:.... :!-.h -\l,9',
                                                                 ~.!:~ ':t:.";;:·:.~:.~
                                                         l---.-' ..... 1., .. -••                                                                                       !1cor•1?nn;•
                                                                                                                                                     •l~IH\'I! • I i:.,,..,,11.. 11         f\•'*"7,;,~~;\l.rl!
                                                                                                                                                     M ,11n·1:. l, ~., l'n:MI• ,,           !.."':"!'. ~~ :!.: I~!~

                                                                                                                                                                      fi'1'd:KCr91;1r•~

                                                                                                                                                     ~)\T o111 111 1f:n ~u 11 ~ !"!'~
                                                                                                                                                     u-,;-y,, •                 •h~· v,,luco ,~         r;,.,..., Ml U
                                                                                                                                             -1~
                                                                                                                                                                          !I



                                                                                                                                               z~Qre1~]
                                                                                                                                               ,1,,,,-:,, ... >,-•,._,nn·1: .,,,.,...~"""
                                                                                                                                         ,.r,, ....r; ~ •• ,., , ..
                                                                                                                                                             ::_.. i.Nno,,~~~:~:-•!'I<,
                                                                                    uc., ..... )1 ..,~ ... , •• :1o~
                                                                                                                                         .. 1._,,...,., .. .., .,1,,<11.vM,,~,•--'\fln l!-o ,.,,.,.,..ia.,
                                                          ~
                                                          L:..:..:..:::::
                                                                          :.:::a.:.~:::::;;:;:;.
                                                                                    1: .. .. , .. ,1 .... .. .. 1 .. 0.
                                                                                                                                                             ,_,..,
                                                                                                                                                                        )1 ..
                                                                                                                                                                                       ,,,....&.L...,
                                                                                                                                                                               ,1 111,-....~
                                                                                                                                                                                                        ...,1,


                                                                                                                                          dl\-f'i.iin,,l,S\lu.\l,,.,l~'-11t;t;:6.."•·"'"'""''.,._" (,:'~:,




                                                                                                                                                                                                                                                  ~~12.!

                UJStart!           G)sm1s: · Actavls...! '-'                7 Microsoft OL                      ·I ~Entering~,, Ev...                  u~·· AT&T Connec..                                                         i-;;i:;!!''$~   s::nAM

                Reason codes next to each binary code may be usable in release or review.




                ~ 1\1 &I Connect Participant l\ppllcatfon · IMectliili -c''SCO'!ti: SQLTJS • MceUl!ll                                                                                                                       .,   ~~~~'fi'i'itJ,.1:t.'._-~ ,•        ·I           .=.Jm19
                 Conference              View       P~rtlcrpautf           V1111teboa1d _A_u_
                                                                                            d ,o_f\_'o<!_e_o-=R=
                                                                                                               •c=o=
                                                                                                                   ,d=
                                                                                                                     m~g_H•~lp_ -,:;;:: = = ::;:: ::;:: ::;:: =,- - - - - - - -

                      I~
                    ·,..,          I•            . ,.
                                                 d.               ..1.fj            [l].                   !irr.c;:, ~
                                                                                                           I   X~            "¾_
                                                                                                                                                                      Fresenter 1, ihi'lrlng
                                                                                                                                                                         ;,1,    .,n
                                                                                                                                                                               llr.,,lion
                Raia, HY'ld                Stnd tlm            S1epO"            \•,'h':tto.atd                Au:IO       Urv..:1:e




                                                               Coefficients and Constant Values                                                                                                                                        ~tavis




                                                                                                                                                                                                    ,
                                                                      ·1
                                                                    1: 1.,,.,..
                                                                            ....
                                                           ••
                                                           ;..,..;~·



                                                                                                  ~                  RM
                                                          cegedim




                                                            L
                                                                                         )lodel coefficient          \,'olue
                                                                                     1----'1,.,,_                    -~.3221
                                                                                                               b, -- 1.9566 --                                                                                   ~':.t~v.is~
                                                                                                                                                                                                                           ·
                                                                                                               b:    1.05:i .. l
                                                                                                               b;    0.699
                                                                                                                                                                                                                 '
                                                                                                                                                                                                                                 ..
                                                                                                                                                                                                                           <;;.\ •. ·~      \?
                                                                                                                                                                                                                          f
                                                                                                                                                                                                                                             ',J
                                                                                                                                                                                                                         . <ii,, _-.-- t:. ,,;11, ...
                                                                                                               ;,~               I   o.7:"
                                                                                                                                                                                                                         \..           -~~
                                                                                                                                                                                                                                         .. .>

                                                                                     e = 2. 718281828459                                                                                                                      '~:T
                                                                                     Cut off Score = 0.15                                                                                                                    .iJ, ·'· --
                                                                                                                                                                                                                                 1:'     ......




                                                                                                                                                                                                                                                                                       ..'.J
                                                                                                                                                                                                                                                                         [_-'.II.I
                                                                                                                                                                                                                                                                   Al' IT C,..,., ,t,.'<.t


                It/Start! G) SOMS: • Actavls ... ,                                  ,s:., 7 Microsoft OL ·I ~Ente~ng the Ev...                                                            u~            AT&T Connec. ..                                 , ...~·,!J>l·~ 8:35 AM-·




                                      NativeFileDownload_ Page 16
CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                                                                                ALLERGAN_MDL_03776380
       Case: 1:17-md-02804-DAP Doc #: 1967-71 Filed: 07/23/19 18 of 24. PageID #: 176822


                ~ I\ I & I connect Participant l\ppllcatlon - iMeetln!I ,                                  •scon SOLTJS'.s MeeUn1fruiomi1i{ ·                           ~   ~...Ql1fii:'[C!ff:f. "~r;.@iJ
                                                                                                                                                                            1


                Conrerence View P.:rtfc[pan~ VJhlteboard Audiof,.'fcfEo Recording Help
                                                                    ---"'-              =..
                                                                        -~1.,.;ll---:::1 =
                                                                                         v=~~~;;;P=,.=,.=n=,.=,=1,=,=h=,,=1n=g;---------r===f1,f.i.,c.:Ec===,1
                                                                                                                                                     :'      1•.-
                  -a
                Rm~H~,.. I        _?·
                               ~~n<ltlm
                                               ~
                                              Sl~Otl
                                                              1ml.
                                                            \'/h:oet:oa!CI
                                                                             I~~
                                                                             Au :fio
                                                                                            ~
                                                                                         llrYr,:J:('
                                                                                                                         ,'O i'IO   ,lir.;,tlon




                                                                                                       Making Decision                                                ~tavis

                                               A= ba + (b 1•zscore6range*FreqOrder6) + (b,.czscore12rangexFreqOrder12) +
                                                         (~•PredZ core6range•FreqOrder6) + (b 4•Rare0 Rder12) +
                                          (b:, •R11reOrder12•zscorel2MAXrange) + (b~ "'B1nary0ay•Freq0rder6) + (b 1 •LessMax)
                                                                      + (bc•Tre:ndS1ope•FreqOrder6)




                                                   p= I +e''
                                                              (!
                                                                   .,
                                                                                                                   ,,A.'.~~\,•,


                                                                                                                  (~~
                                                                                                                  \,,.~
                                                                                                                        "'~r.
                                                                                                                                              ·~ · ,
                                                                                                                                                  /~nii
                                                                                                                                                  ~ '.




                                  If P >= cut-off score (0.15) then
                                                                                                           /,(
                                                                                                              I
                                                                                                                  I~      \

                                                                                                                                                               z
                                            Order of Interest!                                         (     ·~

                                                                                                                                                                                ~:.:;·t   $



                                                                                                                                                                                                                           ...'.l
                                                                                                                                                                                                                1~0[2
                                                                                                                                                                                                             AT&T Conr-:tt

                ltiSta,t! G) SOMS: - Actavls ...            I G 7 Microsoft Of... ·I ~ Enter1ng the Ev..• If lg AT&T Connec...                                                                1:~$@8:Ja AM

                lifl,it~11illl'd4,i®ftttfflml+ftffiiMiMIZtt\@tfii.1«1lni~•ii
                Conference Vfev,      P;:rUcipanls \"Jhiteboard AudfoNideo              Recording          Help
                                                                                                                                     t.:     7,--.. - -~--.~· .,~ · ·· · .
                                                                                                                                  '=:i:JHWB•dU::".'0!.imf'..!.1{t:il.i..~lC1=··rMiil
                  -a I·
                A.roe Hand
                                  .J
                               ~end tlct~
                                               .,!})
                                              Slep Oi.t
                                                              ra. ~ I~
                                                            \'/ttet~rd       Au:io       U~;i:e
                                                                                                                       Presenter 1, sharing
                                                                                                                         nn .:lnpllco'.\tlon




                                                 Suspicious Order Validation Logic (SOVL)                                                                             Pactavis
                                                                                   Trigger



                                            '.H:l::r                                                                                              '.Jr:1:::r
                                        )-J,,.,1:J·.,·r ~                                     '~J(,j::'f                                           h·)!
                                                                                              J.J": t'-:i!
                                                                                                                              SO\"Li~11in,·r~J
                                                                                                                              O~LY furCoulrollW
                                                                                                                              ~~us · •\h~n JJtW llne h
                                                                                                                              •d,ltdoroi,iinglWe                        I
                                                                                                                              hu Ord~r Qry·
                                                                                                                              inn~a"d
                                                                                                                                                                        i
                                                                                                                                                               I
                                                                                                                                                                 ) I    i
                                                                                       Suspfcfous Order Vllllda-                                                \.-1
                                                                                                                                                                  I
                                                                                                                                                               ·--'




                                                                                                                                                                                                                           .!..I
                                                                                                                                                                                                                l~~I~
                                                                                                                                                                                                             Ar&TC•.V11·s.i.1


                i.t:Startl   G', SOMS:      - Actavls ...   I • -· 7 Microsoft Of... ·I ~ Entering the Ev... u~ AT&T Connec.••                                                                [ .. -::'i»fji@". s,,ii i.i:i

                Every time an line is entered it goes through the validation process




                                      NativeFileDownload_ Page 17
CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                        ALLERGAN_MDL_03776381
       Case: 1:17-md-02804-DAP Doc #: 1967-71 Filed: 07/23/19 19 of 24. PageID #: 176823
                IEIJt~ililUUl4,i@ttitftittfii+tfuil"@IMl:t@UiIIW:?«ll1J~,j\? ~                                                                                                     ·        ,.,. ,;·· · ~· , -- --- -
                 Conference ¥few      P~rticipants Whit.elloard Audio/Video    Recording   Help           ll&-TIWG:iB•-1i~L\.:J ~~
                             I • ~1- .       .i.lj        ea.                                       Presenter l• sharing
                  .,11~
                R~Hm
                     .....
                                '5t-nd~lm   Stt'l)Oi.i   \'IN:et:~rd
                                                                        ~lu~"'                        nn .1npllc.1tlen



                                             Investigation, Documentation and                                                                   ~tavis
                                                               Release Process
                                               ____________CofT_!Pliance Role
                                                                                                                                                              1

                                                 ldvn;ify 1111 ord9rs v,,ith
                                                   'Order of lnlvrest'



                                                  -7"in,;;;tlge,t-
                                                                 ,-                                            r·s· usjnc. I oui Orde.!'"   I
                                                                                                                                            '     C<lotvrf'~udlt
                                                       • Document
                                                    • Order ts either                                      . 'II
                                                                                                         h··          Release
                                                                                                                    Maintenance
                                                                                                                                                  Tran - u:~rid.
                                                                                                                                                            Not,,
                                                                                                                                                d1.li!','li:re,




                                                                                 -
                                                 Relused er marked as                                               {Relttaseth
                                                       'Suspicious·                                            \
                                                                                            !o.,,
                                                                                                                   -----Tr~-~-~,
                                                                                                                       order)




                                                                               -                                                                                  ~
                                                                                                                                                                  ...:i.~¢   1(1



                                                                                                                                                                                                         ..!.l
                                                                                                                                                                                                      [~3[~·
                                                                                                                                                                                                   AU,T Ctvir~'t.t


                If/Start!     Gl SOMS: - Actavls ... I G 7 Microsoft Of... ·I       ~ Ente~ng the Ev... If Ii;, AT&T Connec. ••                                                    [ u   G.!'l1$~ g:44 AM




                                      NativeFileDownload _ Page 18
CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                             ALLERGAN_MDL_03776382
       Case: 1:17-md-02804-DAP Doc #: 1967-71 Filed: 07/23/19 20 of 24. PageID #: 176824

         Retention
         Wednesday, September 25, 2012
         6:28 PM




            Milestone 1
            Execute current job responsibilities including the management and support of your current
            Watson customer base meeting exceptional level of service standards. On going thru release
            date.



             Milestone 1 (Nancy)
             Execute current job responsibilities including the management and support of your current
             internal Watson customers meeting exceptional level of service standards. On going thru
             release date.

             Milestone 1- Judy
             Execute current job responsibilities including the leadership, management and support of
             our Customer Service team, and our Watson customers. (internal and external) Achieving
             exceptional level of service standards. On going thru release date.




             Milestone 2
             Assist with the review, update, and development of training materials needed to support a
             thorough education process and knowledge transfer to NJ Customer Service. Dec. 2012

             Milestone 2 - Judy
             Oversee the review and development of training material process to its completion. Ensure
             that all materials are developed for a thorough and educated knowledge transfer to all levels
             in the NJ Customer Service team. Dec. 2012




         Milestone 3

         Conduct knowledge transfer, and training on processes, procedures, and applications in positive,
         professional, and collaborative supportive environment to ensure seamless transition to Watson
         customers. July 2013

         Milestone 3 - Judy
         Ensure that training schedules, training task and components under your responsibility are thoroughly
         and seamlessly executed. Conduct knowledge transfer, and training on processes, procedures, and
         applications in positive, professional, and collaborative supportive environment to ensure seamless
         transition to Watson customers. July 2013




                                     NativeFileDownload _ Page 19
CONFIDENTIAL- SUBJECT TO PROTECTIVE ORDER                                                       ALLERGAN_MDL_03776383
       Case: 1:17-md-02804-DAP Doc #: 1967-71 Filed: 07/23/19 21 of 24. PageID #: 176825

             Hiring Process NJ
             Friday, October 05, 2012
             3:39 PM



      The process will just be Jeanette and Nancy, Andy, Mary
      Replacement Headreqs, after the CA Reps receive their notice

        1.     Number of Open Positions (by job role)- 8
                 o No release dates have been given to Actavis, no retention plans (Jeanette to discuss w/ Brenda)

        2.     Posting Procedure Internal & External
                 o Post all 8 jobs
                              • 1- absolute- Sr
                              • 4 additional at Actavis (1-NO, 1-Lincolnton,
                              • 7 -Open

        3.     Interview Process: Phone/ In Person
                  o Experience: 2/2/4

        4. Job Descriptions
               Internal posting and external at same time. Jeanette will ask if this could happen.
               All electronic posting
               Government
               Right management

        5. Timing to Start Posting & Review Process
               Cognoscente of communication to Nancy's team

        6.     Follow Up Meetings




                   ~
                Customer
               Relations ...

                   r~,3
                   (,~
                     ;~···;-
                    r8JJ.ll

                    CRA
               Competen ...


                   ~
                Customer
               Relations ...


                   ~
                Customer
               Relations ...
                                      NativeFileDownload_ Page 20
CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                           ALLERGAN_MDL_03776384
       Case: 1:17-md-02804-DAP Doc #: 1967-71 Filed: 07/23/19 22 of 24. PageID #: 176826


                      ~
             Customer
            Relations ...



            Grade 15:
            Carolyn Billmeyer: $66, 162 10% Bonus
            Ken Mauro: $64,476 10% Bonus



            Meeting 1/31/2013

      Vicky Goldy - could consider adding to "adjustment" in her annual review
        o looking for approval of next weeks- equity adjustment (wk of 2/4)
        o Looking for confirmation on the lSK stipend (wk 2/4)

        0

        0

        0

        o Ken-SR
        o Carolyn-SR
            l!Jl!l!ll\l'/&i!t1lllllnmn
        0

        o Cathy G-A
        o Open-SR

            Administrative position will be posted: by Friday 1/31




                                      NativeFileDownload_ Page 21
CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                  ALLERGAN_MDL_03776385
       Case: 1:17-md-02804-DAP Doc #: 1967-71 Filed: 07/23/19 23 of 24. PageID #: 176827

          HR - Position Q & A NJ Roles - Geo Equity
          Wednesday, December 05, 2012
          5:04 PM


      *-*-*-*-*-*-*-*-*-*
      Questions for Jeanette?

         • Joanne job knows her job is eliminated Feb 1 -Jeanette told her this week (12/3)
         • Told her the CRO job may not be the same level
         • JD - No additional compensation has typically been offered to comp for the loss of the bonus
           reduction of 6% vs. 10%
         • No salary impact, will roll over the same to Ad min II role

      Other Questions posed to Jeanette. Jeanette to respond by Friday 12/7
      Job grade, 17 & below: cost of living adj. Jeanette would have to address:
      Equity Adj. 9% to CA employees considering NJ. They would be receiving the increase if they applied for the
      job in NJ. Should be fair and equitable for all.

      Posting for Ad min. job.

      Paperwork for Vicky - Reio

      Who is approved for stipend? - Jeanette said




                                      NativeFileDownload_ Page 22
CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                       ALLERGAN_MDL_03776386
           Case: 1:17-md-02804-DAP Doc #: 1967-71 Filed: 07/23/19 24 of 24. PageID #: 176828

               Admin Hire 4.2013
               Wednesday, April 10, 2013
               4:30 PM



   ::Ji   1.
        Ad min Training Agenda - Complete
   :Jj •Training room needs to be added to the Agenda- 4/25
   ~ 2. All books complete: Complete
        ~l. Report binders, SS, LP

   ~      •    Desk Reference: USOM/CRA-, en root to NJ
   .=J •       SAP- Need to check - NR- in NJ needs to ship to CA
   .=J •       SFDC - Need to check - NR - in NJ needs to ship to CA
   w] •        OPD's - Need to check - NR- in CA to stay in CA
   LJI •       Procedures for Monthly reports - shipped to NJ 4/24

   LJ 3. Need to reserve Training area - Nancy to email Sandy Goodman - 4/10, 4/25
   6d\ 4.Fill out paperwork for laptop - MW-NR
   LJ 5. SQOl
   UJ 6. Training materials need to be loaded the portal via a crawler - 4/25 - Nancy talk to Michele
   LJ 7. Nancy to follow up on laptop, phones, desk, supplies 4/29
   LJ 8. P-Card, Staples, Fed-X, Travel Card - Monday 4/29 Stacey & Jill (exception of Fed-X)
   LJ 9. Stacey 2nd travel week - make arrangements 4/29
   LJ 10.Phone Reports info for Nancy to train Stacey - 5/20
   ~ 11. Nancy wireless




                  0M: -,.1
                     : ..                  l

               Transition T
               ravel_Sch ...


                  'j<-,
                    't,>c:
                     ,;
                        ......
                          :i.l   .,
                                      J'
                     . _,_ ··-~
                     ~,.. ~.t



               Admin_Trai
               ning_Proje ...




                                      NativeFileDownload_ Page 23
CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                       ALLERGAN_MDL_03776387
